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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                             _______________________

In re:
                                                           Case No. BT 19-00613
FULL SPECTRUM MANAGEMENT, LLC,                             Chapter 7

     Debtor.
____________________________________________/

INDEPENDENT BANK, derivatively for and on behalf of
KELLY M. HAGAN, CHAPTER 7 TRUSTEE for the
Bankruptcy Estate of Full Spectrum Management, LLC,
                                                           Adversary Proceeding
         Plaintiff,                                        No. 20-80059

-vs-

MARK D. NOSS,
MARK D. NOSS, O.D., LLC,
SMART SCHOOLS MANAGEMENT, INC.,
MDN DEVELOPMENT, LLC,
SMART SCHOOLS MANAGEMENT OF BAY CITY, LLC,
STEVEN INGERSOLL, and
SMART SCHOOLS, INC.,

     Defendants.
_____________________________________________/


                           SCHEDULING ORDER REGARDING
                      PLAINTIFF'S MOTION TO COMPEL DISCOVERY

                       PRESENT:    HONORABLE JAMES W. BOYD
                                   United States Bankruptcy Judge

      On June 15, 2021, Independent Bank (the "Plaintiff") filed a Motion for Order
Compelling Compliance with Non-Party Subpeona and for Discovery Sanctions in the
above-captioned adversary proceeding. (AP Dkt. No. 78.) The court has reviewed the
motion and has determined to schedule a hearing. The court will also require Mark D.
Noss, Mark D. Noss, O.D., LLC, and MDN Development, LLC (the "Noss Defendants")
and Padgett Business Services to file responses to the motion by a date certain.
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         NOW, THEREFORE, IT IS HEREBY ORDERED that:

 1.      Response Deadline. The Noss Defendants and Padgett Business Services shall
         each file a response to the Plaintiff's motion, and serve a copy upon all opposing
         parties, by no later than July 2, 2021.

 2.      Hearing Date. A hearing on the Plaintiff's motion shall be held at the United States
         Bankruptcy Court, Logan Place West, 3249 Racquet Club Drive, Traverse City,
         Michigan on July 8, 2021, at 11:00 a.m.

            Please note: The court will be re-opening for in-person hearings as of
            July 6, 2021. The parties should consult the "Remote Hearing Procedures"
            notice on the court's website, https://www.miwb.uscourts.gov/covid-19-
            notices, for information concerning court appearances.

 3.      Compliance with Meet and Confer Requirement. Although the pleadings indicate
         that the parties have corresponded about this discovery dispute via email, the
         parties should ensure that they have fully complied with the court's meet and confer
         policy prior to the hearing. See https://www.miwb.uscourts.gov/content/judge-
         james-w-boyd, Discovery Motions ("The court will not consider motions related to
         contested discovery unless, prior to the filing of the motion, the parties have
         conferred, through direct dialogue and discussion either in person or by telephone,
         and attempted to resolve their differences in good faith.") (emphasis added).
         Failure to comply with this requirement may result in denial of the motion or
         adjournment of the hearing.

        IT IS FURTHER ORDERED that the Clerk shall serve a copy of this Order pursuant
 to Fed. R. Bankr. P. 9022 and LBR 5005-4 upon:

 Kevin M. Smith, Esq.                              Steven Ingersoll
                                                   1514 Center Ave.
 Sandra S. Hamilton, Esq.                          Bay City, MI 48708

 David W. Centner, Esq.                            Thomas A. Pezzetti, Jr.
                                                   Pezzetti, Vermetten & Popovits, P.C.
 Wallace H. Tuttle, Esq.                           600 E. Front Street, Suite 102
                                                   Traverse City, MI 49686
 Gerald B. Zelenock, Jr., Esq.
                                                   Padgett Business Services
                                                   Attn: Lee Torrey, CPA
                                                   954 Business Park Drive, Ste. 3
                                                   Traverse City, MI 49686

                                      END OF ORDER

IT IS SO ORDERED.

Dated June 23, 2021
